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       To:     Tracy Malone
               Deputy Commissioner of Child Welfare

       From: Lisa Alexander-Taylor
             Public Catalyst

       Date:   March 31, 2017(Updated April 4, 2017)

       Subject: 2017 Caseload Performance Targets


       Public Catalyst analyzed the results of the September 2016 caseload audit, as provided in Section 5.a.1)
       of the Stipulated Third Remedial Order (STRO), in order to measure caseloads according to the new
       weighted caseload standards set forth in the STRO. Thirty-one percent of the 691 frontline workers
       reflected in the September 30, 2016 workload data met the new weighted caseload standards.

       Section 5.b. of the STRO requires that Public Catalyst will establish performance targets for MDCPS
       caseload compliance by March 1, 2017, and report on compliance to the parties every three (3) months.
       Public Catalyst has established the following caseload performance targets for 2017:

         • 50% offrontline workers will meet the caseload standards by July 31, 2017;
         • 70% of frontline workers will meet the caseload standards by October 31, 2017; and
         • 90% of frontline workers will meet the caseload standards by December 31,2017.

      Sections 5.c. and 5.d. of the STRO require MDCPS to comply with these caseload compliance
      performance targets and to achieve full caseload compliance (90%) with the new weighted standards by
      December 31, 2017, respectively. Public Catalyst will report on MDCPS' performance with the 50%
      target in September 2017.

       Please let me know if you have any questions. Thank you.

      c: Kristi Plotner
         Kris Jones
         Jaworski Davenport
         Eileen Crummy
         Kevin Ryan




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       Public Catalyst has established the following caseload performance targets for 2017:

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         • 70% offrontline workers will meet the caseload standards by September 30, 2017; and
         • 90% offrontline workers will meet the caseload standards by December 31, 2017.

      Sections 5.c. and 5.d. of the STRO require MDCPS to comply with these caseload compliance
      performance targets and to achieve full caseload compliance (90%) with the new weighted standards by
      December 31, 2017, respectively. Public Catalyst will report on MDCPS' performance with the 50%
      target in July 2017.

       Please let me know if you have any questions. Thank you.

       c: Kristi Plotner
          Kris Jones
          Jaworski Davenport
          Eileen Crummy
          Kevin Ryan




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